

Pefanis v A.O. Smith Water Prods. Co. (2025 NY Slip Op 02273)





Pefanis v A.O. Smith Water Prods. Co.


2025 NY Slip Op 02273


Decided on April 17, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 17, 2025

Before: Manzanet-Daniels, J.P., Kennedy, Kapnick, Scarpulla, Higgitt, JJ. 


Index No. 190302/20|Appeal No. 4142|Case No. 2024-06106|

[*1]Jennifer Pefanis, etc., Plaintiff-Respondent,
vA.O. Smith Water Products Co, et al., Defendants, Donald Durham Company, Defendant-Appellant. 





An appeal having been taken to this Court by the above-named appellant from an order of the Supreme Court, New York County (Adam Silvera, J.), entered August 23, 2024,
And said appeal having been argued by counsel for the respective parties; and due deliberation having been had thereon, and upon the stipulation of the parties hereto dated March 28, 2025,
It is unanimously ordered that said appeal be and the same is hereby withdrawn in accordance with the terms of the aforesaid stipulation.
ENTERED: April 17, 2025








